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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiff,                                  4:13CR3003
     vs.
                                                            AMENDED ORDER
IRMA CRISPIN-GOMEZ,
                  Defendant.


     IT IS ORDERED:


     1)    The court’s prior order, (Filing No. 39), is stricken.


     2)    Defendant’s response to the government’s motion to continue, (Filing No.
           38), shall be filed on or before noon on March 19, 2014, in the absence of
           which the motion will be deemed unopposed.


     March 18, 2014.

                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
